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                   UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF KENTUCKY
                        LOUISVILLE DIVISION
               CRIMINAL ACTION NO. 3:13-CR-00050-TBR-2


 UNITED STATES OF AMERICA                                                         Plaintiff

 v.

 SHAUNDRELL ROBINSON                                                             Defendant
 (Defendant No. 2)


                    MEMORANDUM OPINION AND ORDER

        This matter is before the Court upon Defendant’s Motion for Bill of Particulars,

 (Docket No. 11); Motion for Discovery and Inspection, (Docket No. 12); Motion for

 Production of Exculpatory and Impeachment Materials, (Docket No. 13); Motion for

 Grand Jury Transcript, (Docket No. 14); and Motion for Notice of Intent to Use

 Evidence, (Docket No. 15). The United States has responded to each of Defendant’s

 Motions. (Docket Nos. 24; 22; 20; 21; 23, respectively.) These matters are now ripe for

 adjudication, and the Court will address each of Defendant’s Motions in turn.


                                     DISCUSSION

 I.     Motion for Bill of Particulars (Docket No. 11)

        Defendant moves the Court, pursuant to Fed. R. Crim. P. 7(f), to order the

 United States to provide the following particulars: (1) the exact location, including the

 street address where the alleged crimes charged in the indictment took place; (2) the

 exact dates and times of the alleged criminal acts charged; (3) the precise manner in

 which the crimes are alleged to have been committed; (4) the names and addresses of

 any person who actively participated in the matters of which Defendant stands accused

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 and who furnished information to law enforcement; (5) the names and addresses of

 persons who participated in, saw, or who are otherwise qualified to testify in court

 about, the commission of the crimes charged; and (6) the names and addresses of, and

 oral and written statements made by, witnesses and/or Defendant upon which the

 indictment is founded.     (Docket No. 11, at 1-2.)       The United States objects to

 Defendant’s Motion, arguing that Defendant has already been provided with the

 information requested in numbers (1), (2), and (3), that Defendant is not entitled to the

 disclosure sought in numbers (4) and (5), and that the United States has provided all

 statements of Defendant and is prepared to comply with the requirements of the Jencks

 Act relative to number (6). (Docket No. 24, at 1-3.)


        Federal Rule of Criminal Procedure 7(f) provides:

            The court may direct the filing of a bill of particulars. A motion
            for a bill of particulars may be made before arraignment or within
            ten days after arraignment or at such later time as the court may
            permit. A bill of particulars may be amended at any time subject
            to such conditions as justice requires.

 The Sixth Circuit has held that a bill of particulars is meant to be used as a tool to

 minimize surprise and assist a defendant in obtaining the information needed to prepare

 his defense and to preclude a second prosecution for the same crimes. United States v.

 Salisbury, 983 F.2d 1369, 1375 (6th Cir. 1993) (citing United States v. Birmley, 529

 F.2d 103, 108 (6th Cir. 1976); United States v. Haskins, 345 F.2d 111, 114 (6th Cir.

 1965)). However, it is not meant as a tool for the defense to obtain detailed disclosure of

 all evidence held by the government before trial. Id. (citations omitted). Further, a

 defendant is not entitled to discover all the overt acts that might be proven at trial. Id.

 (citing United States v. Kilrain, 566 F.2d 979, 985 (5th Cir. 1978)). The test in passing

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 on a motion for a bill of particulars is whether the defendant has enough information

 about the offense charged to enable him to prepare adequately for trial. United States v.

 Graham, 487 F. Supp. 1317, 1320 (W.D. Ky. 1980) (citing 1 WRIGHT, FEDERAL

 PRACTICE AND PROCEDURE: CRIMINAL § 129). A court does not abuse its discretion by

 denying a bill of particulars in light of a detailed indictment. See Salisbury, 983 F.2d at

 1375; United States v. Mahar, 801 F.2d 1477, 1503 (6th Cir. 1986).


        As to Defendant’s requests at numbers (1), (2), and (3), the Court, having

 reviewed the indictment, is of the opinion that the indictment recites with sufficient

 particularity the charges against which Defendant will have to defend. Regardless, the

 information called for has been provided in the discovery materials provided by the

 United States. Thus, in light of the United States’ averment that it has disclosed the

 information requested, the Court will deny those requests as moot. As to Defendant’s

 requests at number (4) and (5), the Court finds that Defendant is not entitled to such

 disclosure by way of a bill of particulars. As the Sixth Circuit reasoned in United States

 v. Sanders:

                   Counsel for appellant sought . . . to require the prosecution to
               give the names and addresses of every informer or person relied
               upon for information and of all persons whom the government
               expects to call as witnesses at the trial. This is not a proper
               subject for a motion for a Bill of Particulars.

 462 F.2d 122, 123 (6th Cir. 1972) (citations omitted). Thus, the Court will deny this

 request. Finally, as to Defendant’s request at number (6), the United States avers that all

 statements known to have been made by Defendant have been provided and that the

 United States is prepared to comply with the requirements of the Jencks Act. As such,

 the Court will deny this request as well.

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        For these reasons, Defendant’s Motion for Bill of Particulars, (Docket No. 11),

 will be DENIED.


 II.    Motion for Discovery and Inspection (Docket No. 12)

        Defendant moves, pursuant to Fed. R. Crim. P. 26, for an order directing the

 United States to furnish him with, or permit his attorney to inspect, copy, or photograph,

 certain documents, photographs, recordings, and other tangible objects. (Docket No.

 12.) The United States argues that this request should be denied as moot. (Docket No.

 22.) By order of April 19, 2013, this Court ordered reciprocal discovery pursuant to

 Fed. R. Crim. P. 16. (Docket No. 9.) Because that order addresses the materials sought

 by Defendant, his Motion for Discovery and Inspection, (Docket No. 12), will be

 DENIED as moot.


 III.   Motion for Production of Exculpatory and Impeachment Materials
        (Docket No. 13)

        Defendant moves the Court, pursuant to Brady v. Maryland, 373 U.S. 83 (1963),

 and Giglio v. United States, 405 U.S. 150 (1982), for an order directing the United

 States to produce all exculpatory material as well as all material that might be used to

 impeach or challenge the credibility of the United States’ witnesses. (Docket No. 13.)

 The United States responds, stating that it recognizes, has complied with, and will

 continue to comply with its duties under Brady and Giglio. (Docket No. 20, at 1.) The

 United States argues, however, that Defendant’s request in this Motion is broader than

 the duties defined in Brady and Giglio and should be denied. (Docket No. 20, at 1.)


        To the extent Defendant’s Motion seeks production of materials beyond the

 United States’ obligations under Brady and Giglio, that request will be DENIED.

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  However, the United States is reminded of, and shall comply with, its disclosure

  obligations under Brady and Giglio.


  IV.    Motion for Grand Jury Transcript (Docket No. 14)

         Defendant moves the Court to order the United States to provide him a copy of

  the grand jury transcript. (Docket No. 14.) The United States objects, arguing that

  Defendant has not made the requisite showing to warrant production of the materials

  sought. (Docket No. 21.)


         Federal Rule of Criminal Procedure 6(e)(2) provides a general requirement of

  secrecy relative to grand jury proceedings. In this vein, the Sixth Circuit holds that

  “[t]here is a strong policy in favor of maintaining the secrecy of grand jury

  proceedings.” United States v. Azad, 809 F.2d 291, 294-95 (6th Cir. 1986) (quoting

  United States v. Short, 671 F.2d 178, 184 (6th Cir. 1982)). Accordingly, “[d]isclosure is

  proper only on a showing of ‘compelling necessity’ and ‘particularized need.’” Id. at

  295 (citing Short, 671 F.2d at 184; United States v. Lisinski, 728 F.2d 887, 893 (7th Cir.

  1984)). Here, Defendant merely states that he “needs the transcripts to assist in the

  preparation of his defense.” (Docket No. 14, at 1.) This general assertion does not

  make the requisite showing of “compelling necessity” or “particularized need.”

  Accordingly, Defendant’s Motion for Grand Jury Transcript, (Docket No. 14), will be

  DENIED.


  V.     Motion for Notice of Intent to Use Evidence (Docket No. 15)

         Defendant moves the Court, pursuant to Fed. R. Crim. P. 12(b)(4), to order the

  United States to give notice in writing not less than 20 days before trial of its intent to


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  use evidence of other crimes, wrongs, or acts of Defendant and to specify the evidence

  that it intends to use. (Docket No. 15.) The United States objects, urging instead that

  14 days’ notice is both reasonable and sufficient. (Docket No. 23.)


         Federal Rule of Evidence 404(b) requires that, on request by a defendant in a

  criminal case, the prosecutor must provide reasonable notice of the general nature of

  evidence of crimes, wrongs, or other acts that the prosecutor intends to offer at trial.

  This notice requirement “is intended to reduce surprise and promote early resolution on

  the issue of admissibility.” Fed. R. Evid. 404(b) (advisory committee note) (1991

  amend.). The Court finds that the United States’ proposed 14-day notice is reasonable.

  Cf. United States v. French, 974 F.2d 687, 694-95 (6th Cir. 1992) (concluding that 7

  days’ notice was reasonable for the government to notify the defense of its intent to

  produce “other crimes” evidence). As such, the Court will DENY Defendant’s Motion

  for Notice of Intent to Use Evidence, and ORDER that the United States shall provide

  notice of Fed. R. Evid. 404(b) evidence no later than 14 days prior to trial.


                              CONCLUSION AND ORDER

         Having considered Defendant’s Motions and being otherwise sufficiently

  advised, consistent with the foregoing discussion;


         IT IS HEREBY ORDERED as follows:

             (1) Defendant’s Motion for Bill of Particulars, (Docket No. 11),
                 is DENIED;

             (2) Defendant’s Motion for Discovery and Inspection, (Docket
                 No. 12), is DENIED as moot;




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               (3) Defendant’s Motion for Production of Exculpatory and
                   Impeachment Materials, (Docket No. 13), is DENIED;

               (4) Defendant’s Motion for Grand Jury Transcript, (Docket No.
                   14), is DENIED; and

               (5) Defendant’s Motion for Notice of Intent to Use Evidence,
                   (Docket No. 15), is DENIED. The United States SHALL
                   provide notice of Fed. R. Evid. 404(b) evidence no later than
                   14 days prior to trial.

  IT IS SO ORDERED.

  Date: June 18, 2013




  cc:      Counsel
           AUSA




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